 

UNITED STATES DISTRICT COURT td: Esra T cour
EASTERN DISTRICT OF WISCONSIN ASTER OISTRICT- Wl

 

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| ep TILIPPQ
£ rnesto Buern Leni
(Full Name of each Plaintiff)
14-C-000¢

(Supplied by Clerk)

 

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Plaintiff(s), Case No.

 

v.

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lastituctions HLS. and Medical shaft

(Full Name of each Defendant)

Defendant(s).
COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983

E; PLACE OF PRESENT CONFINEMENT (Provide full address)

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w90 I lores Odve, Plyrrout h AKL + SLONS

A. Is there a grievance procedure in your prison/jail? YES 4 NO O

B. Have you filed a grievance concerning the facts relating to this complaint?
YES ) NOO
Hl. PARTIES

oa
A. Your name (Plaintiff) Ln 2 ep Z, VELA
B. Institutional Identification Number a 25 665/
C. Social Security Number (Last Four Digits Only) GOO i

(For additional plaintiffs provide the information in Sections | and Il, in the same format, on a separate
page.)

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PARTIES - continued
E. DEFENDANT (name) (_. (an Ho cunt {

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at Ke Ale Moratiwe Corree 4 onal ee sik JulS On
F. Additional DEFENDANTS (name, position, and place of employment):

| Deth-nurse-Rw “ad HSU in Ketlle Morons veel Let

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Falm, Debra A-aw" nurse. At Us iw Kettle Moraine Coxeel bort
“Robinson, Kim Rv nurse At HShew Kettle Moraine, (ottect-bost

Deprenk -RU nurse MHS wv Keldle Moraine Coptecd bast

Hl. PREVIOUS LAWSUITS

 

 

 

 

 

 

A. Have you begun other lawsuits in state or federal court relating to the same facts involved
in this action? § © YES ENO
B. Have you begun other lawsuits in state or federal court relating to your imprisonment?
O YES D& NO
C. lf your answer is YES to either of the above questions, provide the following requested
information.
a; Parties to the previous lawsuit
Plaintiff(s):
Defendani(s):
es Date filed
3. Court where case filed (if federal court, name district: if state court, name the
county)
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PREVIOUS LAWSUITS - continued

 

 

 

 

 

4. Case number

5. Nature of claim

6. Current status (for example: open, closed, on appeal)

Rs If resolved, date of resolution

8. If resolved, state whether for the plaintiff or the defendant:

(For additional cases, provide the above information in the same format on a separate
page.)

IV. STATEMENT OF CLAIM
A. State as briefly as possible the facts of your case. Describe how each named defendant
is involved. Include the names of other persons involved, dates, and places. Describe
specifically the injuries sustained. Do not give legal arguments or cite cases or statutes.
You may do that in Section "B" below. If you allege related claims, number and set forth
each claim in a separate paragraph. Unrelated claims must be raised in a separate civil
action.

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B. State briefly your legal theory. You may cite appropriate authority.

 

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statement oF Claim

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RELIEF YOU REQUEST

State briefly and exactly what you want the court to do for you. Use this space only to request
remedies for the infuses you complain about.

  
 

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| declare under penalty of perjury that the foregoing is true and correct.

ZO.
Ck f___—

Signature of Plaintiff(s)

Complaint signed this _/ day of

 

(lf there are multiple plaintiffs, each must sign the complaint)

Cee? ‘
Institutional Identification Number(s) Fn thy

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